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 1     Christopher S. Marchese (SBN 70239), marchese@fr.com
       FISH & RICHARDSON P.C.
 2     555 West Fifth Street, 31st Floor
 3     Los Angeles, CA 90013
       Telephone: (213) 533-4240
 4
       Joanna M. Fuller (SBN 266406), jfuller@fr.com
 5     Oliver J. Richards (SBN 310972), orichards@fr.com
       FISH & RICHARDSON P.C.
 6     12390 El Camino Real
 7     San Diego, CA 92130
       Telephone: (858) 678-5070
 8
       Andrew R. Kopsidas (admitted pro hac vice), kopsidas@fr.com
 9     FISH & RICHARDSON P.C.
10     1425 K Street, N.W., 11th Floor
       Washington, DC 20005
11     Telephone: (202) 783-5070
12     Michael M. Rosen (SBN 230964), michael@rosentechlaw.com
       ROSEN TECHNOLOGY LAW P.C.
13     984 Oxford Street
14     Berkeley, CA 94707
       Telephone: (858) 692-1906
15
       Attorneys for Plaintiff, CH2O, Inc.
16
17                              UNITED STATES DISTRICT COURT

18                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
       CH2O, INC.,                              Case No. CV-13-8418 JAK (GJSx)
19
20                Plaintiff,                    CH2O, INC.’S REPLY IN SUPPORT
                                                OF ITS MOTION FOR ENHANCED
21           v.                                 DAMAGES AND RESPONSE TO
                                                OPPOSITION OF THE
22 MERAS ENGINEERING, INC.;                     HOUWELING’S DEFENDANTS
23 HOUWELING’S NURSERIES
   OXNARD, INC.; HNL HOLDINGS                   Date: March 6, 2017
24 LTD.; HOUWELING UTAH                         Time: 8:30 a.m.
   OPERATIONS, INC.; and                        Courtroom: 750
25 HOUWELING’S NURSERIES LTD.,                  Hon. John A. Kronstadt
26                Defendants.
27
28
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 1     I.    INTRODUCTION
 2           CH2O hereby submits the following reply in support of its Motion for Enhanced
 3     Damages (D.I. 482) and in response to The Houweling’s Defendants’ Opposition to
 4     CH2O, Inc.’s Motion for Enhanced Damages (D.I. 495). Because Meras and
 5     Houweling’s each responded separately to CH2O’s motion (see D.I. 490 and 495),
 6     CH2O offers separate replies. This reply addresses the Houweling’s Defendants’
 7     (collectively, “Houweling’s”) opposition.
 8           Houweling’s argues that its indemnification agreement with Meras shields it
 9     from enhanced damages. To the contrary, Houweling’s reliance on another party to
10     investigate possible infringement on its farm, where it uses chemicals that it owns and
11     equipment that it leases, was unreasonable and adds, rather than detracts, from its
12     culpability. Houweling’s also argues that it left CH2O because of business reasons
13     unrelated to obtaining the patented technology for cheaper. But this self-serving
14     version of the facts was rejected by the jury and is belied by testimony that
15     Houweling’s continued to recommend CH2O to other businesses. The actual evidence
16     presented at trial leads only to one conclusion: Houweling’s willfully and wantonly
17     infringed the patent.
18           A trebling of the jury’s damages award is appropriate and enhanced damages
19     ought to be awarded against Meras and Houweling’s, jointly and severally.
20     Accordingly, the Court should consider the actions of Defendants as a whole in
21     considering whether to enhance damages. Here, as laid out in CH2O’s opening
22     motion, both Defendants engaged in deliberate, intentional infringement of the ’470
23     patent, affording both Defendants substantial gain and causing significant harm to
24     CH2O. The Defendants were aware of CH2O’s patent rights during the entire course
25     of their infringing activity, and neither presented any evidence of a reasonable
26     investigation or any other actions that might mitigate their culpability. Instead, the
27     evidence presented at trial showed that, at best, Defendants were indifferent to
28     possible infringement or, at worst, Defendants copied CH2O’s product and used
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 1     former CH2O employees to displace CH2O from the very market it invented.
 2           CH2O’s motion for enhanced damages should be granted.
 3     II.   ARGUMENT
 4           A.     Both Defendants Should Be Jointly and Severally Liable for
                    Enhanced Damages
 5
 6           As discussed extensively in CH2O’s concurrently-filed reply to Meras’s
 7     opposition to the motion for enhanced damages, the Court should consider the actions
 8     of both Defendants collectively and award enhanced damages levied against both
 9     Defendants jointly and severally. Such a decision is in line with the jury’s finding that
10     both Defendants collectively and willfully infringed the patent.
11           B.     The Evidence at Trial Supports the Jury’s Willfulness Finding and
                    Enhancement Against Houweling’s
12
13           The jury found that Houweling’s “acted in a manner that was wanton,
14     malicious, in bad-faith, deliberate, consciously wrongful or flagrant,” mirroring the
15     exact language from the Supreme Court in Halo Electronics., Inc. v. Pulse
16     Electronics., Inc. (See D.I. 418, at 25); see also Halo, 136 S. Ct. 1923, 1932 (2016).
17     With respect to Houweling’s, the basic facts are as follows:
18           Houweling’s was aware that CH2O’s process for creating chlorine dioxide was
19     proprietary beginning in 2006, when Mr. Iverson sold Houweling’s on the untested
20     technology, telling Mr. Houweling that CH2O “had a patent on it” and that “it’s
21     exclusive to” CH2O. (D.I. 482-3, Tr. (Iverson) at 176:11-24 (emphasis added).)
22     Houweling’s became additionally aware of the ’470 patent in 2013—Mr. Houweling
23     admitted at trial that he knew of the patent “prior to engaging with Meras.” (D.I. 482-
24     3, Tr. (Houweling) at 1157:6-9.)
25           When CH2O’s executives approached Mr. Houweling to let him know they
26     were concerned about infringement of the ’470 patent, Mr. Houweling “didn’t seem
27     to care” because, in his view, the patent infringement “was a matter between CH2O
28     and Meras.” (D.I. 482-3, Tr. (Iverson) at 177:7-9; id. Tr. (McNamara) at 292:7-8.)
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 1     Notably, Mr. Houweling testified at trial that he was the “chairman of the
 2     Houweling’s group of companies” and that he was “responsible for everything that
 3     happens” in his companies. (See Ex. 1, Tr. (Houweling) at 1141:3-5; id. at 1180:7-
 4     13.) And Mr. Houweling admitted that Houweling’s did no investigation as to whether
 5     its activities were infringing. (D.I. 482-3, Tr. (Houweling) at 1159:17-1160:23.)
 6     Instead, Houweling’s expanded its course of infringing activities, switching its farms
 7     over to Meras from CH2O. (D.I. 482-3, Tr. (McNamara) at 292:16-19; id. Tr.
 8     (Houweling) at 1172:17-1173:14.)
 9           In short, Houweling’s actions comported with Mr. Houweling’s statement that
10     the “[e]asiest things [sic] to do is to copy somebody else.” (D.I. 482-3, Tr.
11     (Houweling) at 1161:25-1162:5.) This philosophy exemplifies conduct that is
12     “wanton, malicious, in bad-faith, deliberate, consciously wrongful or flagrant.” Halo,
13     136 S. Ct. at 1932.
14           Houweling’s argues that the history of the parties’ relationship does not warrant
15     a finding of willfulness or an award of enhanced damages. In Houweling’s re-telling
16     of history, Houweling’s switched away from CH2O to Meras because of
17     unsatisfactory results. (See D.I. 495, at 11-12.) However, this story was presented to
18     the jury (see generally Ex. 1, Tr. (Houweling) at 1151:2-1153:5), and the jury
19     implicitly rejected this testimony by finding Houweling’s willfully infringed. The jury
20     was entitled to do so, especially in light of testimony that Mr. Houweling
21     recommended CH2O to a business colleague for advice well after the alleged
22     breakdown in their relationship. (See Ex. 1, Tr. (McNamara) at 298:12-299:20.) This
23     Court should similarly reject this self-serving narrative.
24           Houweling’s also argues that infringement was not willful because Defendants
25     were unaware of CH2O’s theory of infringement at trial. (See D.I. 495, at 12-13.) But,
26     as has been discussed in previously-filed briefs, this argument has no bearing on a
27     finding of willfulness, was never raised at trial, and was shown to be contrary to the
28     facts. (See D.I. 497, at 5-8; D.I. 498, at 24-25; see also Ex. 2 where Mr. Houweling’s
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 1     was questioned about sodium molybdate catalyzing residual chlorite in the pipes at
 2     Houweling’s into chlorine dioxide).)
 3           C.     Houweling’s Unreasonable Reliance on Indemnification by Meras
                    Adds, Rather than Subtracts, from its Culpability
 4
 5           Houweling’s argues that Meras’s promise to indemnify it from damages for
 6     patent infringement acts a shield to a finding of willful infringement. However, this
 7     is not such a case where the indemnification agreement mollifies Houweling’s
 8     culpability. Rather, Houweling’s reliance on a contractor to conduct an investigation
 9     as to whether infringement was occurring at its farm was unreasonable and supports
10     a finding of willfulness and an award of enhanced damages.
11           Houweling’s cites Spectralytics, Inc. v. Cordis Corp. for the proposition that a
12     finding of willfulness and an award of enhanced damages against an indemnified
13     party are unwarranted. 834 F. Supp. 2d 920, 926 (D. Minn. 2011), aff'd, 485 F. App’x
14     437 (Fed. Cir. 2012). But Spectralytics does not stand for such a broad proposition.
15     In Spectralytics, the court noted that a larger entity had indemnified a smaller entity
16     which in essence “function[ed] as an in house” manufacturer for the larger entity. And
17     the court noted that in those circumstances, it made sense for the smaller entity to rely
18     on the larger entity to conduct a reasonable investigation into infringement.
19     Specifically, the court stated that it could not find fault that the smaller indemnified
20     party did not conduct an “independent investigation” into possible infringement, but
21     instead relied on the party with “far greater resources at its disposal” to conduct a
22     reasonable investigation. See id.
23           Here, the circumstances are quite different. Houweling’s is unquestionably a
24     larger entity that contracted out part of its operation to Meras. Thus, here, it does not
25     make sense for Houweling’s to rely on Meras to conduct an investigation particularly
26     when, as Mr. Houweling testified, Houweling’s leases the equipment used to infringe,
27     the equipment is installed on the premises of Houweling’s facilities, and that
28     Houweling’s “actually buy[s]” the precursor chemicals and “own[s] them”—“the
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 1     very chemicals that go into the equipment to make chlorine dioxide.” (See Ex. 1, Tr.
 2     (Houweling) at 1180:21-1181:21.) Moreover, in addition to Meras being aware that
 3     the technology was patented, Mr. Houweling himself was aware of that fact prior to
 4     switching to Meras. (D.I. 482-3, Tr. (Houweling) at 1157:6-9.) Instead, Houweling’s
 5     ignored CH2O’s assertion of patent infringement and tried to shift its responsibility to
 6     a contractor one-tenth its size, that it hired to perform the infringing activities.
 7     Because Houweling’s reliance on Meras for indemnification was unreasonable,
 8     Houweling’s is even more complicit in the willful infringement. See Jurgens v.
 9     McKasy, 927 F.2d 1552, 1562 (Fed. Cir. 1991) (finding that an infringer’s
10     unreasonable reliance on an indemnification agreement supported a verdict of
11     willfulness and award of double damages).
12           D.     The Read Factors Weigh in Favor of Treble Damages
13           Houweling’s generally responds to CH2O’s presentation of the Read factors by
14     pointing the finger at Meras. (See, e.g., D.I. 495, at 14 (“CH2O’s assertion that there
15     is evidence of copying is accordingly directed at Meras, not Houwelings”); id. at 15
16     (with respect to a good faith belief, “CH2O refers only to actions by Meras, [and] not
17     any of Houwelings”); id. at 24 (“Regarding the ‘motivation for harm’ factor, CH2O
18     once again refers only to actions by Meras, not Houwelings”).) As noted above and
19     in the concurrently-filed reply to Meras’s response, enhanced damages should be
20     levied against both Defendants, jointly and severally, based on both Defendants’
21     conduct. Houweling’s other arguments are similarly unavailing.
22                  1.     Copying
23           Houweling’s denies copying, arguing that the only evidence presented by
24     CH2O applies to Meras. (See D.I. 495, at 14.) But Houweling’s, for its part, hired
25     Meras to perform the same service as CH2O for less money despite knowing that
26     CH2O’s method of producing chlorine dioxide was patented. (See D.I. 482-3, Tr.
27     (Iverson) at 170:13-21; id. Tr. (McNamara) at 292:16-19; id. Tr. (Houweling) at
28     1157:6-9.) In essence, Houweling’s hired Meras to reproduce, or copy, the CH2O
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 1     method.
 2           In addition, Houweling’s conflates copying the preferred embodiment from the
 3     patent with copying a patented product. (See D.I. 495, at 14-15.) But as discussed in
 4     the concurrently-filed reply to Meras’s response, this factor does not require that the
 5     infringer crib from the patent and copy the preferred embodiment—rather, this factor
 6     weighs in favor of enhancement when, as here, the infringer copies the patented
 7     product while knowing that it is patented.
 8                  2.     Good Faith Belief in Non-Infringement or Invalidity
 9           Houweling’s does not deny that it conducted no investigation as to possible
10     infringement. In response, Houweling’s only offers obfuscation. Houweling’s argues
11     that it reasonably relied on Meras to investigate infringement and invalidity. (See D.I.
12     495, at 15-16.) But Houweling’s, notably, does not dispute that Meras lacked a good
13     faith belief in non-infringement or invalidity. Further, as discussed above,
14     Houweling’s reliance on Meras to investigate infringement on its farm was
15     unreasonable.
16           Houweling’s also points to letters sent in 2013 stating Meras and Houweling’s
17     belief they do not infringe because they did not add sodium molybdate to the reaction
18     chamber. Houweling’s argues that these letters—sent by (at the time) Meras’s counsel
19     demonstrate Houweling’s reasonable belief in non-infringement and lay out the same
20     theory Defendants presented at trial. (See D.I. 495, at 16; see also D.I. 495-2 and 495-
21     3.) But CH2O’s theory of infringement did not rely on adding sodium molybdate to
22     the reaction chamber—a fact Houweling’s was aware of long before trial. (See D.I.
23     497, at 5-8; D.I. 498, at 24-25; Ex. 2.)
24                  3.     Size and Financial Condition
25           Houweling’s does not dispute that its revenues are multiples of CH2O’s.
26     Instead, Houweling’s argues that it is not in a good enough financial condition to pay
27     enhanced damages. (See D.I. 495, at 18-19.) But Houweling’s argument is predicated
28     on two incorrect assumptions:
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 1           First, any enhanced damages should be levied against both Defendants jointly
 2     and severally, so any discussion of whether each individual entity would be able to
 3     pay the entire enhanced damages amount is irrelevant. Houweling’s offers no
 4     argument as to whether it, together with Meras, would be able to pay an enhanced
 5     damages award.
 6           Second, Houweling’s entire argument about financial condition is premised on
 7     only two of the four Houweling’s entities found to infringe. (See D.I. 495, at 19 n. 6
 8     & n.7.) But as discussed in CH2O’s response to Houweling’s motion to amend the
 9     judgment (D.I. 487), judgment was properly entered against all four Houweling’s
10     entities. Houweling’s vigorous attempt to exclude these other Houweling’s entities
11     from the judgment and from any analysis of Houweling’s ability to pay enhanced
12     damages suggests that, indeed, the Houweling’s defendants do have enough assets to
13     pay an enhanced damages award.
14                  4.     Closeness of the Issues
15           As with Meras, Houweling’s does not dispute that it put on essentially no
16     invalidity case, that its expert admitted equivalence as to ammonium molybdate, and
17     that Defendants admitted performing every step of the patented process except using
18     sodium molybdate as a catalyst. Even if objective reasonableness of litigation-
19     inspired defenses1 were relevant, which it is not, this case could not be considered
20     close. See WBIP v Kohler, 829 F.3d 1317, 1341 (Fed. Cir. 2016) (“Proof of an
21     objectively reasonable litigation-inspired defense to infringement is no longer a
22
       1
23       As noted in reply to Meras’s response, WesternGeco L.L.C. v. Ion Geophysical
       Corp., 837 F.3d 1358, 1363 (Fed. Cir. 2016), holds only that the objective
24     reasonableness of a belief regarding infringement at the time of the challenged
       conduct may be relevant to a willfulness/enhanced damages analysis. Houweling’s
25     incorrectly asserts that its litigation defense is still relevant because it was the same
       as what was stated in letters sent by Defendants’ counsel in 2013. In those letters,
26     Meras contended that it did not infringe because it did not add sodium molybdate to
       the reaction chambers. At trial, CH2O showed that unreacted chlorite is catalyzed by
27     sodium molybdate outside of the reaction chamber. Defendants’ only litigation-
       inspired response was to criticize CH2O’s catalysis tests, and it was undisputed that
28     they did not perform their own tests.
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 1     defense to willful infringement.”). Houweling’s arguments to the contrary—reliance
 2     on the 2013 letters and “the tenuous nature” of CH2O’s infringement theory (i.e.
 3     “minimal” infringement)—are baseless and incorrect as discussed above and in
 4     CH2O’s concurrently filed brief in reply to Meras.
 5                  5.    Duration of Misconduct
 6           Houweling’s does not dispute that it knew of the ’470 patent during the entire
 7     course of its infringing activity. Nor could it in light of Mr. Houweling’s admission
 8     at trial that he was aware of the patent “prior to engaging with Mears.” (D.I. 482-3,
 9     Tr. (Houweling) at 1157:6-9.) In fact, Houweling’s entire argument does not focus on
10     the duration of the misconduct; instead, Houweling’s asserts that there was no
11     misconduct because it is entitled to JMOL on literal infringement and it switched to
12     ammonium molybdate. (See D.I. 495, at 22-23.) But, as is discussed in CH2O’s
13     response to Defendant’s motion for JMOL, the jury correctly concluded that
14     Houweling’s literally infringed. (See D.I. 498, at 2-5.) And, in light of Defendants’
15     expert readily admitting at trial that ammonium molybdate is equivalent to sodium
16     molybdate (see D.I. 482-3, Tr. (Bubnis) at 1239:8-11), Houweling’s argument that
17     using ammonium molybdate was not misconduct is meritless.
18                  6.    Remedial Actions
19           Houweling’s does not deny that the only remedial action it took in response to
20     CH2O’s charges of infringement was switch to ammonium molybdate. Defendants’
21     expert admitted at trial that ammonium molybdate is equivalent to sodium molybdate.
22     (See D.I. 482-3, Tr. (Bubnis) at 1239:8-11 (Defendants’ expert admitting that “from
23     a scientific standpoint, … they’re equivalent. There’s no difference”).) Switching
24     from one infringing compound to another can hardly be considered a remedial action
25     that would mitigate Houweling’s culpability for willfully infringing the ’470 patent.
26           Houweling’s also argues that its post-judgment conduct should be relevant to
27     whether enhanced damages are warranted for its past willful infringement.
28     “[C]ulpability is generally measured against the knowledge of the actor at the time of
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 1   the challenged conduct.” Halo, 136 S. Ct. at 1933 (emphasis added). Houweling’s
 2   post-judgment actions are not relevant for enhancement purposes.
 3                7.    Motivation for Harm
 4          Houweling’s argues that CH2O’s only evidence of a motivation for harm relates
 5   to Meras. Certainly, Meras’s actions are relevant to this factor. For its part,
 6   Houweling’s switched to a cheaper infringing competitor after knowing about the
 7   ’470 patent and after two CH2O executives approached Mr. Houweling trying to
 8   convince him to stay. (See D.I. 482-3, Tr. (Iverson) at 177:7-9; id. Tr. (McNamara) at
 9   292:7-8.) Houweling’s did this despite a long-standing relationship in which CH2O
10   first proved the effectiveness of its new technology at a Houweling’s farm. (See D.I.
11   482-3, Tr. (Iverson) at 158:1-4.) Houweling’s actions, at least, evidence indifference
12   and apathy to any potential economic harm the patent infringement would cause to
13   CH2O.
14                8.    Concealment
15          Houweling’s does not dispute that the hydroponic irrigation market is
16   “secretive,” (D.I. 482-3, Tr. (Iverson) at 244:5), making analysis of infringement
17   difficult. Thus, concealment favors enhancement.
18   III.   CONCLUSION
19          CH2O’s motion for enhanced damages should be granted.
20
21   Dated: January 30, 2017                   FISH & RICHARDSON P.C.
22
                                               By: /s/ Christopher S. Marchese
23                                                 Christopher S. Marchese
                                                   marchese@fr.com
24
                                               Attorneys for Plaintiff, CH2O, INC.
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 1                              CERTIFICATE OF SERVICE
 2           The undersigned hereby certifies that a true and correct copy of the above and
 3   foregoing document has been served on January 30, 2017, to all counsel of record
 4   who are deemed to have consented to electronic service via the Court’s CM/ECF
 5   system. Any other counsel of record will be served by electronic mail and regular
 6   mail.
 7
 8                                                  /s/ Christopher S. Marchese
                                                    Christopher S. Marchese
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                                                    marchese@fr.com
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